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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


   FUSION ELITE ALL STARS, et al.,

                    Plaintiffs,
                                           Case No. 2:20-cv-02600-SHL-tmp
   v.
                                           JURY TRIAL DEMANDED
   VARSITY BRANDS, LLC, et al.,

                    Defendants.


   JONES, et al.,

                    Plaintiffs,
                                           Case No. 2:20-cv-02892-SHL-tmp
   v.
                                           JURY TRIAL DEMANDED
   BAIN CAPITAL PRIVATE EQUITY, et al.,

                    Defendants.



      DECLARATION OF DAVID SEIDEL IN SUPPORT OF PLAINTIFFS’ JOINT
    RESPONSE TO DEFENDANTS’ MOTION TO MODIFY PREVIOUS DISCOVERY
    ORDERS THAT ALLOW SHARING OF DISCOVERY MATERIALS (ECF NO. 97)
            AND COORDINATION OF DEPOSITIONS (ECF NO. 172)
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         I, David Seidel, declare the following under penalty of perjury:

         1.      I am an associate at the Joseph Saveri Law Firm, LLP (“JSLF”), counsel for

  Plaintiffs Jessica Jones and Christina Lorenzen (“Plaintiffs”) in Jones, et al. v. Bain Capital

  Private Equity, at el., case no. 2:20-cv-02892-SHL-tmp. I am a member in good standing of the

  State Bar of California and have been admitted pro hac vice in this Court. I am over 18 years of

  age and have personal knowledge of the facts stated in this Declaration. If called as a witness, I

  could and would testify competently.

         2.      At some point after Defendants filed the Motion, ECF 357, Plaintiffs became

  concerned that the language of Defendants’ requested relief could be interpreted much more

  broadly than Plaintiffs understand Defendants’ Motion to be seeking. Plaintiffs therefore reached

  out to Defendants to seek clarification on their requested relief.

         3.      On September 30, 2022, Plaintiffs discussed the issue with Defendants. Plaintiffs

  informed Defendants of Plaintiffs’ concern. Defendants asked Plaintiffs to send Defendants the

  requested relief clarified in such a way that plaintiffs would not object.

         4.      On September 30, 2022, the Jones Plaintiffs sent Defendants a proposed set of

  clarified modifications that the Plaintiffs would not object to.

         5.      On October 3, 2022, Defendants and Plaintiffs together revised the clarified set of

  relief such that Defendants could agree to it, and Plaintiffs would not object.

         6.      Attached as Exhibit A is a true and correct copy of email correspondence

  between the Plaintiffs and Defendants.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

  October 3, 2022 in San Francisco, California.

                                                                /s/ David Seidel
                                                                   David Seidel



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